      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 1 of 13




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


MOE’S FRANCHISOR LLC,
            Plaintiff,
            v.
                                           Case No.: 1:15-cv-03504-MHC
TAYLOR INVESTMENT
PARTNERS, II, LLC; TIP-II –
ANSLEY, LLC; AND TIP II –
SUBURBAN, LLC,

            Defendants.


     DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION TO
  DISMISS PLAINTIFF’S COMPLAINT UNDER FED. R. CIV. P. 12(b)(1)

      Defendants Taylor Investment Partners, II, LLC, TIP-II – Ansley, LLC, and

TIP II – Suburban, LLC (collectively “Defendants”) respectfully move to dismiss

Plaintiff Moe’s Franchisor LLC’s (“Moe’s”) Complaint (Dkt. No. 1) with

prejudice under Rule 12(b)(1) of the Federal Rules of Civil Procedure. Under

controlling Eleventh Circuit precedent, there is no federal subject matter

jurisdiction over Moe’s state-law contract claims.
       Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 2 of 13




I.    INTRODUCTION

      “If at first you don’t succeed, try, try again.” Thomas H. Palmer, Teacher’s

Manual (1840). This ancient aphorism summarizes Moe’s overall strategy to end

its relationship with Defendants. Indeed, this case is the latest saga in a dispute that

dates back to 2012, when Moe’s alleged that Defendants failed a surprise inspection

(albeit, not failures related to any food, health, or safety code violation or failures to

pay necessary franchise moneys, but rather petty failures related to things such as

advertising and uniforms). Following years of litigation and arbitration, the

arbitrator found that the prior inspections were improper and that the findings were

unfair, and ordered Moe’s to conduct new inspections. Less than a month

following the arbitrator’s decision, Moe’s performed another (again, unannounced)

inspection and not surprisingly, again calculated enough ticky-tack violations to

attempt to terminate its relationship with Defendants (although the violations only

related to one of the two stores). Like before, these violations were not related to

food, health, or safety.1


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 For over ten years, Defendants’ achieved passing to high passing scores for both
of their franchise locations. Moreover, their Health Department inspection scores
over those same ten years averaged in the 90s on a 100-point scale.




                                            2
      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 3 of 13




      Defendants subsequently filed a petition for bankruptcy protection. In the

bankruptcy proceeding, curiously, Moe’s did not argue that the agreements were

terminated. Instead, they requested that the Bankruptcy Court appoint a trustee to

sell the two franchise agreements to an interested buyer Moe’s identified. But the

Bankruptcy Court did not grant Moe’s request to sell the franchise agreements.

And not long after filing the petition, Defendants fully paid their debts and moved

to dismiss the bankruptcy altogether; the Bankruptcy Court granted Defendants’

dismissal request.

      In an about-face, Moe’s latest position is that the franchise agreements were

contractually terminated upon the filing of the bankruptcy petition. Rather than

return to state court or arbitration to resolve the issue, Moe’s filed this complaint.

      In its zeal to establish federal court jurisdiction here, Moe’s artfully enhances

its breach of contract claims with federal jurisdiction vocabulary, but without any

substance to the asserted federal question. And that is likely because there is no

federal statute that gives rise to or is a necessary element of Moe’s claims. Nor is

there any exclusive federal jurisdiction over the subject matter at issue. Indeed, the

franchise agreements that created the contractual obligations between the parties, by

their own explicit terms, are governed by Georgia state law.




                                           3
       Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 4 of 13




      There is no bankruptcy here. The application and interpretation of the

Bankruptcy Code is irrelevant outside of a bankruptcy court proceeding. In other

words, how this franchise agreement would be evaluated by the Bankruptcy Court

in a bankruptcy court proceeding applying relevant Bankruptcy Code is irrelevant

in a court proceeding to interpret the contractual terms under Georgia law.

      Even assuming, arguendo, that the facts alleged in the Complaint constitute a

breach of the franchise agreement, Moe’s cannot wrongfully overlook its

contractual obligations to resolve this dispute in arbitration, or in the alternative, in

State Court. Accordingly, this Court lacks subject matter jurisdiction to adjudicate

the action; it should be dismissed.

II.   ARGUMENT

      At its heart, this lawsuit is nothing more than a state-law claim for breach of

a contract—the type of claim that should have been brought (if at all) in Georgia

State Court. Moe’s claim that jurisdiction is proper in this Court rests entirely on

its assertion of federal question jurisdiction in a non-diverse breach of contract

case. As such, Moe’s bears the burden of establishing that this case is based upon

“a federal cause of action established by a Congressionally-created expressed or

implied private remedy for violations of a federal statute.” City of Huntsville v.

City of Madison, 24 F.3d 169, 171-72 (11th Cir. 1994) (citations omitted); see also


                                            4
      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 5 of 13




Columbus Bank & Trust Co. v. CompuCredit Corp., No. 4:08-CV-78 (CDL), 2008

WL 4098950, at *2 (M.D. Ga. Sept. 3, 2008) (noting that “Plaintiff bears the

burden of establishing federal jurisdiction”). It has failed to do so. Consequently,

the Court should dismiss Moe’ Complaint under Rule 12(b)(1) for lack of federal

subject matter jurisdiction.

      A.     Moe’s does not plead a claim arising under federal law, and thus
             there is no federal jurisdiction.

      Moe’s claims for declaratory and injunctive relief do not arise under federal

law; consequently, there is no federal subject matter jurisdiction in this case. “The

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. “Federal

question jurisdiction may be based on a civil action alleging a violation of the

United States Constitution . . . or a federal cause of action established by a

Congressionally-created expressed or implied private remedy for violations of a

federal statute.” City of Huntsville, 24 F.3d at 171-72 (citations omitted). This

case presents none of the above-listed jurisdictional hooks.

      Of course, Moe’s cleverly tries to give the impression that its claims sound

in federal law—it cites Section 365(e)(2) of Title 11 of the United States Code (the

“Bankruptcy Code”), and alleges that its “entitlement to relief requires the

resolution of a dispute with Defendants regarding the application of [that code

                                          5
      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 6 of 13




section].” (Dkt. No. 1 at ¶ 1.) Despite its efforts to make this look like a federal

case, however, Moe’s does not identify any basis in the cited section of the

Bankruptcy Code that creates a private right of action. Absent such a cause of

action, there is no federal subject matter jurisdiction. See City of Huntsville, 24

F.3d at 171-72. Instead, Moe’s contends that “federal question” jurisdiction exists

because interpretation of Section 365(e)(2) of the Bankruptcy Code is central to the

dispute between the parties. (See Dkt. No. 1 at ¶ 1.) Even if true, that, on its own,

is not enough to confer federal question jurisdiction over Moe’s complaint. See

City of Huntsville, 24 F.3d at 174.

      B.     There is no federal question jurisdiction over this state-law claim
             for breach of contract.
       Because Moe’s lawsuit has no basis in federal law, Moe’s ultimately must

rely on the Parties’ Franchise Agreements as its only possible ground for its claim

against Defendants. But there is no federal subject matter jurisdiction over a state-

law contract claim such as this one—regardless of whether, as Moe’s contends, its

“entitlement to relief requires the resolution of a dispute with Defendants regarding

the application of Section 365(e)(2) of the [Bankruptcy Code].” (Dkt. No. 1 at ¶

1.)

      It is clear from the face of the Complaint that Moe’s is actually asserting a

contract claim against Defendants. Indeed, the Complaint recognizes that the

                                         6
      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 7 of 13




Parties’ relationship is governed by two Franchise Agreements. (See id. at ¶¶ 8-9.)

Moe’s even attaches those Agreements as exhibits to the Complaint. See id.

Perhaps more importantly, Moe’s acknowledges that the Franchise Agreements

themselves form the basis for the relief ultimately sought by the Complaint—a

declaration that the Franchise Agreements are terminated and an injunction

requiring Defendants to perform certain obligations under the Franchise

Agreements’ termination provisions. (See id. at ¶¶ 16, 28, 31.)

      It is equally clear, then, that this state-law contract action, even if it might

involve the interpretation of the federal Bankruptcy Code, does not belong in

federal court.   In City of Huntsville, the Eleventh Circuit addressed this very

situation—where a party contends that a case belongs in federal court because its

breach of contract claim turns on the interpretation of federal law. See City of

Huntsville, 24 F.3d at 173 (“To determine the propriety of Huntsville’s actions,

therefore, either the federal district court or a state court must both interpret the

Huntsville-TVA contract and determine Congressional intent regarding TEP

distributions as embodied in § 13 of the TVA Act.”). In that case, the Court held

that the interpretation of federal law, even if “necessary to settle the state contract

claim between [the parties], is on its own not enough to confer federal question

jurisdiction.” Id. at 174. It concluded that, when a case requires the court to


                                          7
      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 8 of 13




resolve federal-law issues in the context of a state-law contract claim, “the federal

district court is not the proper court to undertake that task.” Id. at 173.

      The Middle District of Georgia also has recognized the principle that federal

question jurisdiction does not exist merely because “federal law may provide an

essential element of a state law claim or [] the interpretation of federal law is

necessary to resolve the state law claim.”2 Columbus Bank & Trust Co., 2008 WL

4098950 at *3. There, relying on the Eleventh Circuit’s reasoning in City of

Huntsville, the court dismissed the plaintiff’s state-law contract claim, despite

finding that “the resolution of an issue of federal law [was] essential to Plaintiff’s

[claim].” Id. at *2. The court explained that “[b]ased on City of Huntsville, federal

jurisdiction cannot be found to exist for the present case simply because the




2
  Defendants acknowledge that, in at least one case, the Middle District of Georgia
held that it could exercise subject matter jurisdiction over a state-law contract
claim that involved “genuinely disputed and potentially dispositive issues of
federal law.” Davis v. GMAC Mortg., LLC, No. 4:11-CV-95 (CDL), 2012 WL
860389, at *6 (M.D. Ga. Mar. 13, 2012). That case, however, involved “a complex
regulatory scheme that in part [was] designed to protect the federal government
which [was] the ultimate guarantor of the contracts [at issue in the case].” Id.
Unlike in Davis, the contracts at issue here—Franchise Agreements between
private entities—do not impact or involve the interest of any federal agency.




                                           8
      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 9 of 13




interpretation of the FDIC regulations and related federal law may be essential to

Plaintiff’s state law breach of contract claim.” Id. at *3.

      City of Huntsville and Columbus Bank & Trust Company, while involving

different federal statutes, are analogous to this case—that is, the resolution of

Moe’s state-law contract claims requires the interpretation of a federal statute. For

the same reason the federal district courts lacked subject matter jurisdiction in

those cases, the Court lacks subject matter jurisdiction here. Accordingly, Moe’s

Complaint should be dismissed under Fed. R. Civ. P. 12(b)(1).

      C.     Because the Court lacks jurisdiction over Counts I and II of
             Moe’s Complaint, it should dismiss Count III.

      Because the Court lacks subject matter jurisdiction over—and thus should

dismiss—Counts I and II of Moe’s Complaint, the Court also should dismiss Count

III of Moe’s Complaint.       Moe’s contends that the Court has subject matter

jurisdiction over Count III’s state-law claims under 28 U.S.C. § 1367(a), because

such jurisdiction is supplemental to the Court’s purported federal question

jurisdiction. (See Dkt. No. 1 at ¶ 1.) As explained above, however, the Court lacks

“federal question” jurisdiction over Counts I and II. Accordingly, the Court should

decline to exercise supplemental jurisdiction under 28 U.S.C. § 1367(c).

      Section “1367(c) permits a court to dismiss any state law claims where the

court has dismissed all the claims over which it had original jurisdiction . . . .”

                                           9
      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 10 of 13




New England Co. v. Bank of Gwinnett County, 891 F. Supp. 1569, 1577-78 (N.D.

Ga. 1995). When considering whether to dismiss remaining state-law claims under

section 1367(c), the Court can consider “judicial economy, convenience, fairness,

and comity . . . .” Id. at 1578.

      Here, the resolution of Moe’s allegations in Count III depends on state law.

And “[s]tate courts, not federal courts should be the final arbiters of state law.” Id.

This is especially true if, as here, the Court dismisses the only claims that could

possibly give rise to independent, federal subject matter jurisdiction (i.e., Counts I

and II) early in a case’s lifecycle.      See id. Accordingly, “judicial economy,

fairness, and convenience dictate having” Count III’s state-law claims decided by

the state court. Id. Consequently, the Court should dismiss Count III of Moe’s

Complaint for lack of subject matter jurisdiction.

II.   CONCLUSION

      For the foregoing reasons, Defendants respectfully request that the Court

grant their motion and dismiss Moe’s Complaint with prejudice.




                                          10
Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 11 of 13




Respectfully submitted this 6th day of June, 2016.

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                                 11
     Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 12 of 13




                     CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to L.R. 5.1C and 7.1D of the Northern District of

Georgia, that the foregoing DEFENDANTS’ BRIEF IN SUPPORT OF THEIR

MOTION TO DISMISS PLAINTIFF’S COMPLAINT UNDER FED. R. CIV. P.

12(b)(1) complies with the font and point selections approved by the Court in L.R.

5.1C. The foregoing pleading was prepared on a computer using 14-point Times

New Roman font.

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      Case 1:15-cv-03504-MHC Document 30-1 Filed 06/06/16 Page 13 of 13




                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this 6th day of June 2016, I have

electronically filed the foregoing DEFENDANTS’ BRIEF IN SUPPORT OF

THEIR MOTION TO DISMISS PLAINTIFF’S COMPLAINT UNDER FED. R.

CIV. P. 12(b)(1) with the Clerk of the Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to all attorneys of record.


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